  Case 21-03006       Doc 7    Filed 10/12/21     Entered 10/12/21 15:50:50         Page 1 of 3




                    IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF CONNECTICUT


IN RE:                                               CHAPTER 7

    ACE BEGONIAS INC.,                               CASE NO. 19-31430 (AMN)

         DEBTOR.                                    ADV. PRO. NO. 21-03006(AMN)


BONNIE C. MANGAN, Chater 7 Trustee for
ACE BEGONIAS, INC.

         PLAINTIFF,

         v.

WELLS FARGO BANK, N.A. d/b/a                         OCTOBER 12, 2021
WELLS FARGO CARD SERVICES,

         DEFENDANT



              NOTICE OF APPEARANCE AND REQUEST FOR ALL NOTICES

         Please take notice that the undersigned attorney hereby files this NOTICE OF

APPEARANCE in the above-captioned matter, representing Wells Fargo Bank, N.A. pursuant to

Bankruptcy Rule 9010(b), and Rule 9010-1 of the Local Rules of the Bankruptcy Court for the

District of Connecticut, and hereby requests copies of all notices and all papers served including,

but not limited to, those required to be sent pursuant to Bankruptcy Rule 2002 and notice of the

entry of all orders by the Court. The undersigned further requests to be included on the Service

List.




99238796v.2
  Case 21-03006       Doc 7    Filed 10/12/21     Entered 10/12/21 15:50:50      Page 2 of 3




        PLEASE TAKE FURTHER NOTICE that pursuant to § 1109(b) of the Bankruptcy

Code, the foregoing request includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, motion, position, pleading, plan request, complaint or demand, whether formal

or informal, whether written or oral and whether transmitted or conveyed by mail, hand delivery,

telephone, telegraph, telex or otherwise.


                                            DEFENDANT
                                            WELLS FARGO BANK, N.A.


                                            By:       /s/ Tara L. Trifon
                                                    Tara L. Trifon (ct28415)
                                                    Locke Lord LLP
                                                    20 Church Street, 20th Floor
                                                    Hartford, Connecticut
                                                    Tel: (860) 525-5065
                                                    Fax: (860) 527-4198
                                                    E-mail: tara.trifon@lockelord.com




                                             -2-
99238796v.2
  Case 21-03006       Doc 7    Filed 10/12/21     Entered 10/12/21 15:50:50         Page 3 of 3




                                CERTIFICATE OF SERVICE

        I hereby certify that on October 12, 2021 a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by email to all parties by operation of the court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this document through the court’s CM/ECF System.




                                                            /s/ Tara L. Trifon
                                                            Tara L. Trifon




                                              -3-
99238796v.2
